                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:07cr154

UNITED STATES OF AMERICA                             )
                                                     )
                       vs.                           )
                                                     )                AMENDED ORDER1
                                                     )
KATHLEEN GIACOBBE (2)                                )
                                                     )


        THIS MATTER is before the Court upon motion of the government for a continuance of

the sentencing hearing in this matter from February 25, 2010, in the Charlotte Division. (Doc. No.

340).

        The Court finds that the government has not stated sufficient cause for a continuance in

this matter.

        IT IS, THEREFORE, ORDERED that the motion is DENIED.

        The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                                   Signed: February 18, 2010




        1
         This Order corrects a typographical mistake regarding the scheduled date of the
sentencing hearing.


    Case 3:07-cr-00154-RJC-DSC             Document 342         Filed 02/18/10      Page 1 of 1
